Case 2:21-cv-04405-RGK-MAR Document 85-5 Filed 03/09/22 Page 1 of 5 Page ID #:1237



    1     THE INSTITUTE FOR JUSTICE
          Robert Frommer*
    2     rfrommer@ij.org
          901 N. Glebe Rd., Suite 900
    3     Arlington, VA 22203
          Tel. (703) 682-9320
    4
          Robert E. Johnson*
    5     rjohnson@ij.org
          16781 Chagrin Blvd., Suite 256
    6     Shaker Heights, OH 44120
          Tel. (703) 682-9320
    7
          * Admitted pro hac vice.
    8
          THE VORA LAW FIRM, P.C.
    9     Nilay U. Vora (SBN 268339)
          nvora@voralaw.com
   10     Jeffrey Atteberry (SBN 266728)
          jatteberry@voralaw.com
   11     201 Santa Monica Blvd., Suite 300
          Santa Monica, CA 90401
   12     Tel. (424) 258-5190
   13     Attorneys for Plaintiffs
   14                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
   15                                WESTERN DIVISION
                                                  Case No. 2:21-cv-04405-RGK-MAR
   16   PAUL SNITKO, JENNIFER
        SNITKO, JOSEPH RUIZ, TYLER                DECLARATION OF ROBERT
   17   GOTHIER, JENI VERDON-                     FROMMER IN SUPPORT OF
        PEARSONS, MICHAEL STORC,                  PLAINTIFFS’ MOTION TO
   18   and TRAVIS MAY,                           COMPEL DISCOVERY
                                                  RESPONSES AND ENTER
   19                                 Plaintiffs, PROTECTIVE ORDER
                     v.                           (Filed Concurrently with Plaintiffs’
   20
                                                  Notice of Motion to Compel; Parties’
   21   UNITED STATES OF AMERICA,                 Rule 37-2 Joint Stipulation;
        TRACY L. WILKISON, in her                 Declarations of Victor A. Rodgers and
   22   official capacity as Acting United        Madison MacDonald; Proposed
        States Attorney for the Central           Protective Order; and Proposed Order)
   23   District of California, and KRISTI        DISCOVERY MATTER
        KOONS JOHNSON, in her official            Date: March 30, 2022
   24   capacity as an Assistant Director of
        the Federal Bureau of Investigation,      Time: 10:00 A.M.
   25                                             Courtroom: 790
                                    Defendants. Judge:   Hon. Margo A. Rocconi
                                                  Discovery cutoff date: TBD
   26
                                                  Pre-Trial Conference Date: TBD
   27                                             Trial Date: July 26, 2022
                                                  Complaint Filed: May 27, 2021
   28                                             Amended Complaint Filed: June 9, 2021

                                     DECLARATION OF ROBERT FROMMER
Case 2:21-cv-04405-RGK-MAR Document 85-5 Filed 03/09/22 Page 2 of 5 Page ID #:1238



    1         I, Robert Frommer, submit the following declaration in support of Plaintiffs’
    2   Motion to Compel Discovery Responses and Enter Protective Order.
    3         1.     I am an active member of the State Bar of Virginia and a senior
    4   attorney at the Institute for Justice. I am admitted pro hac vice in this proceeding,
    5   and I submit this declaration in support of Plaintiffs’ Motion to Compel Discovery
    6   Responses and Enter Protective Order.
    7         2.     On November 5, 2021, I served, by email and first-class mail,
    8   Plaintiffs’ Second Set of Interrogatories and Second Set of Requests for Production
    9   on Victor Rodgers, counsel for Defendants the United States of America, Tracy L.
   10   Wilkison (in her official capacity as Acting United States Attorney for the Central
   11   District of California), and Kristi Koons Johnson (in her official capacity as an
   12   Assistant Director of the Federal Bureau of Investigation) (collectively, the
   13   “government). Plaintiffs had previously served limited discovery related solely to
   14   class certification, but these were the first requests addressed to the merits of
   15   Plaintiffs’ claims.
   16         3.     On November 8, 2021, I attended in-person the Court’s scheduling
   17   conference in this matter. After the conference, I personally told counsel for the
   18   government about the need for the parties to work expeditiously on discovery given
   19   the short timeframe the Court established for discovery.
   20         4.     Attached as Exhibit A is a copy of the Minutes of the Scheduling
   21   Conference (D.E. 83) establishing the initial case schedule. This copy of the
   22   warrant was obtained via PACER from the docket in this case.
   23         5.     On November 29, 2022, the government requested an extension of
   24   time to respond to Plaintiffs’ second set of discovery requests. Attached as Exhibit
   25   B is a copy of my email correspondence with counsel for the government about that
   26   request.
   27         6.     On the morning of January 10, 2022, I emailed the government about
   28   the email courtesy copies it had agreed to provide for the discovery responses due
                                                   2
                                   DECLARATION OF ROBERT FROMMER
Case 2:21-cv-04405-RGK-MAR Document 85-5 Filed 03/09/22 Page 3 of 5 Page ID #:1239



    1   on January 7, 2022. That evening, I received by email the government’s responses
    2   to Plaintiff’s second set of discovery requests that Plaintiffs served on November 5,
    3   2021.
    4           7.    Attached as Exhibit C is a copy of the government’s responses to
    5   Plaintiffs’ Second Set of Interrogatories.
    6           8.    Attached as Exhibit D is a copy of the government’s responses to
    7   Plaintiff’s Second Set of Requests for Production.
    8           9.    Attached as Exhibit E is a copy of the letter I sent to the government
    9   on January 12, 2022, describing the government’s deficient discovery responses
   10   and requesting a discovery conference under Local Rule 37-1 within 10 days.
   11   Counsel for the government responded that he would be available to discuss the
   12   government’s discovery responses on January 24, 2022.
   13           10.   On January 14, 2022, I received by email the government’s sole
   14   production of documents in this matter. The production consisted of 246 pages
   15   constituting the warrant application and warrants relating to the government’s
   16   March 22, 2021, search and seizure at U.S. Private Vaults in Beverly Hills,
   17   California, which the government produced in response to Request for Production
   18   No. 11, and which had previously been unsealed in a related action.
   19           11.   As of the date of this declaration, and other than limited responses to
   20   Interrogatory No. 12 and Request for Production No. 11, the government has not
   21   provided any substantive discovery in response to Plaintiffs’ second set of
   22   discovery requests.
   23           12.   On January 24, 2022, I attended a conference call with counsel for the
   24   government about the government’s discovery responses. During that meeting,
   25   counsel for the government stated that the government would respond to most of
   26   Plaintiffs’ discovery responses, but that it would only do so after the entry of a
   27   protective order governing the exchange of confidential information. Counsel for
   28   the government also stated that the government would produce documents in waves
                                                     3
                                   DECLARATION OF ROBERT FROMMER
Case 2:21-cv-04405-RGK-MAR Document 85-5 Filed 03/09/22 Page 4 of 5 Page ID #:1240



    1   following entry of the protective order. The government estimated that documents
    2   relating to written inventories the government took of class members’ boxes would
    3   take a few more weeks following entry of the protective order. The government
    4   also estimated that interrogatory responses identifying class members and
    5   government agents who supervised or participated in the search of class members’
    6   USPV boxes would take about week following entry of the protective order. During
    7   this call, I reiterated several times my concerns about moving diligently so that the
    8   parties could complete discovery before the Court’s deadlines expired.
    9         13.    Attached as Exhibit F is a copy of the letter I sent to counsel for the
   10   government on January 24, 2022, discussing discovery in this case and
   11   summarizing our conference call earlier that day.
   12         14.    Attached as Exhibit G is a copy of my email correspondence with
   13   counsel for the government about the language of the proposed protective order.
   14   Following these communications, I conferred with counsel for the government by
   15   phone and we agreed that we were at an impasse regarding the language of the
   16   protective order.
   17         15.    The government returned the silver that Plaintiffs Jeni Verdon-
   18   Pearsons and Michael Storc stored in their box, but it has never returned the $2,000
   19   in cash they stored there. I have spoken to other class members who are concerned
   20   that the government lost, misplaced, or stole property that class members stored in
   21   their USPV boxes.
   22         16.    Attached as Exhibit H is a copy of the seizure warrant authorizing the
   23   seizure of U.S. Private Vaults’ property. This copy of the warrant was obtained via
   24   PACER from the docket in the related case of Does 1-6 v. United States, No. 21-cv-
   25   3254, Dkt. 20 (C.D. Cal.).
   26         17.    Attached as Exhibit I is a copy of a redacted excerpt of the
   27   government’s application for a warrant to seize U.S. Private Vaults’ property. This
   28   copy of the redacted excerpt of the warrant application was obtained via PACER
                                                   4
                                  DECLARATION OF ROBERT FROMMER
Case 2:21-cv-04405-RGK-MAR Document 85-5 Filed 03/09/22 Page 5 of 5 Page ID #:1241



    1   from the docket in the related case of Does 1-6 v. United States, No. 21-cv-3254,
    2   Dkt. 20 (C.D. Cal.).
    3         18.    Attached as Exhibit J is a copy of the [Redacted] Declaration of
    4   Benjamin N. Gluck in Support of First Amended Complaint in the related case of In
    5   re Search and Seizure of Box No. 8309 at U.S. Private Vaults, No. 21-cv-3554, Dkt.
    6   16 (C.D. Cal.). The copy of this declaration was obtained via PACER.
    7         19.    Attached as Exhibit K is a copy of the Declaration of Nicole R. Van
    8   Dyk in Support of First Amended Complaint in the related case of In re Search and
    9   Seizure of Box No. 8309 at U.S. Private Vaults, No. 21-cv-3554, Dkt. 13-2 (C.D.
   10   Cal.). The copy of this declaration was obtained via PACER.
   11         20.    Attached as Exhibit L is a true and correct copy of Exhibit B to the
   12   Declaration of Nicole R. Van Dyk in Support of First Amended Complaint in the
   13   related case of In re Search and Seizure of Box No. 8309 at U.S. Private Vaults, No.
   14   21-cv-3554, Dkt. 13-4 (C.D. Cal.). The copy of this exhibit was obtained via
   15   PACER.
   16         21.    Attached as Exhibit M is a true and correct copy of Defendants’
   17   Response to Plaintiffs’ First Request for Admissions Related to Class Certification.
   18         I declare under penalty of perjury under the laws of the United States that the
   19   foregoing is true and correct.
   20

   21         Executed this 8th day of March, 2022.
   22

   23
                                               /s/ Robert Frommer
                                               Robert Frommer
   24

   25

   26

   27

   28
                                                  5
                                  DECLARATION OF ROBERT FROMMER
